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 8
 9                         UNITED STATES DISTRICT COURT
10
            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
11
12    ROBBIN ROTH,                                )   CASE NO: 8:17-cv-01522 AG (DFMx)
13                                                )
                                                      Assigned to Hon. Andrew J. Guilford
                         Plaintiff,               )
14                                                )
15            vs.                                 )   PENEGON NEWPORT BEACH, INC.
                                                  )   DBA JAGUAR LAND ROVER
16
      JAGUAR LAND ROVER NORTH                     )   NEWPORT BEACH’S REPLY IN
17    AMERICA, LLC, a Delaware Limited            )   SUPPORT OF ITS MOTION TO
18    Liability Company, JAGUAR LAND              )   COMPEL ARBITRATION
      ROVER NEWPORT BEACH, a                      )
19    Business Organization Form Unknown,         )   Magistrate Judge for discovery-related motions:
20    and DOES 1 through 10, inclusive,           )   Hon. Douglas F. McCormick

21                       Defendants.
22
23
24          I.      INTRODUCTION
25            Plaintiff Robbin Roth's opposition misses the mark for several reasons.
26    First, it relies largely upon case law and arguments about unconscionability that
27    predate the California Supreme Court in Sanchez v. Valencia Holding Co., 61
28    Cal.4th 899 (2015). Here, the terms of her arbitration provision are substantially


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 1    similar to - and in fact more favorable than - the arbitration provision upheld by
 2    the Sanchez Court. So, there is no reason for this Court to rule different than the
 3    California Supreme Court’s ruling in Sanchez.       The claims against Penegon
 4    Newport Beach, Inc. dba. Jaguar Land Rover Newport Beach (“JLR Newport
 5    Beach”) must be compelled to arbitration with the American Arbitration
 6    Association.
 7            Second, in arguing that the claims against Jaguar Land Rover North
 8    America, LLC (“JLRNA”) are not intertwined with the claims against Jaguar Land
 9    Rover Newport Beach, she omits reference to the allegations in her Complaint. In
10    no uncertain terms, she has focused her claims against both defendants on the
11    condition of the vehicle at time of sale and bundled them together. In short,
12    plaintiff's opposition to the enforceability of her arbitration agreement is
13    foreclosed by binding precedent and her factual allegations in the First Amended
14    Complaint. The motion to compel binding arbitration on all claims against both
15    defendants in this lawsuit should be granted.
16         II.       ARGUMENT
17            A.     Plaintiff Agreed To The Arbitration Clause
18            On the front of the sales agreement, plaintiff signed a provision that
19 contained her agreement, "pursuant to the Arbitration Provision on the reverse side
20 of this contract… to resolve any dispute by neutral, binding arbitration and not by a
21 court action." Also on the front, just above her final signature line, was the
22 following disclosure.
23               YOU AGREE TO THE TERMS OF THIS CONTRACT. YOU
24            CONFIRM THAT BEFORE YOU SIGNED THIS CONTRACT, WE
25            GAVE IT TO YOU, AND YOU WERE FREE TO TAKE IT AND
26            REVIEW IT. YOU ACKNOWLEDGE THAT YOU HAVE READ
27            BOTH     SIDES    OF   THIS    CONTRACT,       INCLUDING        THE
28            ARBITRATION PROVISION ON THE REVERSE SIDE, BEFORE


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 1            SIGNING BELOW. YOU CONFIRM THAT YOU RECEIVED A
 2            COMPLETELY FILLED-IN COPY WHEN YOU SIGNED IT.
 3            While plaintiff claims there was no meeting of the minds because she did
 4 not know what arbitration was, there is no factual support for this argument. There
 5 is no evidence that plaintiff couldn't read English or was otherwise incompetent to
 6 understand what she signed.
 7            B.    To Invalidate An Arbitration Clause, Plaintiff Has The Burden
 8            Of Proving Both Procedural and Substantive Unconscionability
 9            Under California law, "[t]he party resisting arbitration bears the burden of
10 proving unconscionability." Pinnacle Museum Tower Ass'n v. Pinnacle Mktg. Dev.
11 (US), LLC, 55 Cal.4th 223, 247 (2012). The California Supreme Court has
12 emphasized that "procedural and substantive unconscionability must both be
13 present" to permit a court "to refuse a contract." Sanchez, 61 Cal.4th at 910.
14 Procedural unconscionability "focus[es] on oppression or surprise due to unequal
15 bargaining power," while substantive unconscionability asks whether the terms are
16 "so one-sided as to shock the conscience." Ibid.            (quotation marks omitted).
17 Unconscionability is evaluated on a "sliding scale" - i.e. "the more substantively
18 oppressive the contract term, the less evidence of a procedural unconscionability is
19 required to come to the conclusion that the term is unenforceable, and vice versa.
20 Ibid (quotation marks omitted).
21            C.    At Most, The Arbitration Agreement Has A Small Degree Of
22            Procedural Unconscionability
23            Plaintiff attacks the arbitration provision as procedurally unconscionable for
24 two principal reasons: (1) no one told her about it, and (2) the AAA rules were not
25 provided her. Neither suffices to invalidate the agreement.
26            The fact that the sales agreement is a standard form contract proves virtually
27 nothing. Because the use of a standard form contract amounts only to a "low
28 degree" of procedural unconscionability, the arbitration agreement is enforceable


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 1 unless "the degree of substantive unconscionability [is] high." Dotson v Amgen,
 2 Inc., 181 Cal.App.4th 975, 981 (2010). As shown below, that is not the case here.
 3 Moreover, Sanchez forecloses plaintiff's suggestion that JLR Newport Beach
 4 needed to do more to highlight the arbitration provision.           As the California
 5 Supreme Court explained, the dealer "was under no obligation to highlight the
 6 arbitration clause of its contract, nor was it required to specifically call that clause
 7 to [the plaintiff's] attention." 61 Cal.4th at 914. The Court further noted that
 8 "[a]ny state law imposing such an obligation would be preempted by the FAA."
 9 Ibid. (citing Doctor's Assocs., Inc. v. Casarotto 517 U.S. 681, 684, 687-688
10 (1996)).
11            Our facts are even more compelling that there was, at most, de minimis
12 procedural unconscionability, given the fact that the front side of the sales
13 agreement contained an arbitration disclosure provision which plaintiff signed,
14 unlike the agreement in Gutierrez v. Autowest, Inc., 114 Cal.App.4th 77 (2003),
15 where the arbitration clauses were on the back side of the contract only. And, even
16 if the arbitration clause was on the backside only, the Sanchez case found its
17 placement there wasn't so procedurally unconscionable as to invalidate it.
18            Likewise, plaintiff's complaint that she wasn't provided the AAA rules do
19 not render the arbitration agreement procedurally unconscionable. As noted in
20 Lane v Francis Capital Mgmt,. 224 Cal.App.4th 676, 691 (2014), "the failure to
21 attach a copy of the AAA rules d[oes] not render the agreement procedurally
22 unconscionable" as [t]here could be no surprise, as the arbitration rules referenced
23 in the agreement were easily accessible to the parties - the AAA rules are available
24 on the Internet." No surprise, plaintiff's counsel was able to find the AAA's web
25 page containing its arbitration rules (See Opp. Memo, pgs. 7 and 8). Its Consumer
26 Arbitration Rules, located at https://www.adr.org/Rules, clearly apply to this
27 dispute, not the Commercial Arbitration Rules. Nowhere has plaintiff pointed out
28 any provision in the AAA rules that are substantively unconscionable, a


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 1 requirement our California Supreme Court has imposed for the argument raised
 2 here. See Baltazar v. Forever 21 Inc., 62 Cal.4th 1237, 1246 (2016).
 3            Plaintiff cannot show any substantive unconscionability - much less the
 4 "high" degree that would be required to invalidate the arbitration agreement given
 5 its minimal degree of procedural unconscionability. Dotson, 181 Cal.App.4th at
 6 981. Plaintiff argues that the contract unfairly provides only JLR Newport Beach
 7 with the choice of arbitration forums. That argument is tenuous. On its face,
 8 plaintiff was empowered to select another arbitration organization if she so chose,
 9 subject to JLR Newport Beach's agreement. Naturally, some organizations might
10 be objectionable.        For example, if plaintiff chose some consumer advocate
11 organization to arbitrate the case. But plaintiff is making a red herring argument
12 here. She has never asked to arbitrate with any other organization.
13            Plaintiff's fallback argument is that AAA, as an organization, is biased, and
14 the arbitration clause is confusing. In fact, courts have long recognized AAA as
15 providing a neutral and fair environment. See, e.g. Smith v. Sara Lee Fresh, Inc.,
16 2007 WL 4356725 at *6 (E.D. Cal. 2007) ("both arbitration forums … - the AAA
17 and the JAMS - are respected alternative dispute organizations judicially noted for
18 providing neutral and fair environments"); Ellis v. Western Airlines, Inc., 198 WL
19 109120, at *4 (S.D. Cal. 1987) ("the AAA is nationally reputed and well
20 respected.").
21            More importantly, nowhere does plaintiff establish that the language of the
22 arbitration clause is confusing or unintelligible, or that the AAA, and its applicable
23 consumer rules, would be unfair to her in this automobile case. In fact, plaintiff
24 counsel's "expert" declaration, and exhibit nos. 1, 2 and 3 attached to his
25 declaration, are objectionable as hearsay, irrelevant, misleading and failing the
26 Daubert standard.        The entire discussion of the exhibits deals with the average
27 consumer's understanding of credit card contracts and the outcomes of arbitrations
28 involving credit card billing disputes. None of the discussion relates to the simple


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 1 language on the back of plaintiff's sales agreement and/or the statistics for AAA of
 2 disputes with California automobile purchasers or lessees.
 3            Plaintiff argues that there is no guarantee she would be provided her fees if
 4 she prevails. That plaintiff would be entitled to her fees, costs and expenses from
 5 the arbitrator if she prevailed on any of her statutory claims is established by the
 6 arbitration clause itself. It states that both parties would be responsible for their
 7 own fees and costs “unless applicable law provides otherwise.” This mirrors the
 8 default litigation rule. By no means is this provision substantively unconscionable.
 9 If she prevails on any of her causes of action which permit the recovery of
10 attorneys fees and costs, she can seek them from the arbitrator.
11            Finally, plaintiff argues that the arbitration clause is substantively
12 unconscionable because JLR Newport Beach is not required to arbitrate disputes
13 over its cancellation of the contract due to inability to finance and/or its
14 repossession of the vehicle. Also, plaintiff argues that the small claims carve out is
15 useless here because her car cost more than the $10,000 small claims court
16 jurisdictional amount. But Sanchez dealt with these issues. The car there cost
17 $53,000. The Court rejected the same arguments raised here. It reasoned that the
18 agreement’s exemption of self-help remedies from arbitration was not
19 unconscionable because it preserved the ability of the parties to go to small claims
20 court, which favored the car buyer. Sanchez, 61 Cal.4th at 831, 922. In addition, it
21 noted that arbitration is an alternative to litigation, and, self-help remedies are, by
22 definition, outside of litigation. Id.
23            In short, plaintiff's unconscionability arguments are unavailing.
24            D.    JLRNA Is Permitted to Join the Arbitration Because the Doctrine
25            of Equitable Estoppel Applies
26            In Kramer v Toyota Motor Corp., 705 F.3d 1122, 1124 (2013), Toyota
27    attempted to compel arbitration with the putative class action representatives
28    through an arbitration clause in a similar Retail Installment Sale Contract


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 1    (“RISC”). After noting that Toyota was a nonsignatory to the RISC, the Court
 2    explored whether the doctrine of equitable estoppel would permit Toyota to
 3    compel arbitration. Under two circumstances, the Court ruled that equitable
 4    estoppel could apply: “(1) whether a signatory must rely on the terms of the
 5    written agreement in asserting its claims against the nonsignatory or the claims are
 6    ‘intimately founded in and intertwined with’ the underlying contract (citing to
 7    Goldman v. KPMG LLP, 173 Cal.App.4th 209, 221 (2009)), and (2) when the
 8    signatory alleges interdependent and concerted misconduct by the nonsignatory
 9    and another signatory and ‘the allegations of interdependent misconduct are
10    founded in or intimately connected with the obligations of the underlying
11    agreement.” (citing to Goldman, 173 Cal.App.,4th at 219). Because plaintiffs
12    only asserted claims against Toyota, based upon its advertising and sale of new
13    Prius vehicles, and, the implied warranty that accompanied them, the Kramer
14    Court found no interdependent and concerted misconduct by Toyota and its
15    dealers justifying equitable estoppel. Id. at 1127.
16            Unlike the Kramer case, circumstances exist here which justify the
17    application of equitable estoppel. First, JLR Newport Beach certified the subject
18    vehicle and then sold it to plaintiff. The gist of plaintiff’s CLRA cause of action is
19    that the vehicle shouldn’t have been certified because of its condition. In violating
20    this statute, Plaintiff alleges here that both JLRNA and JLR Newport Beach were
21    agents of each other (See First Amended Complaint, ¶6 ), that the vehicle was not
22    thoroughly inspected, repaired or reconditioned (See First Amended Complaint,
23    ¶17), that it had an aftermarket exhaust system that caused abnormal vibration and
24    noise (See First Amended Complaint, ¶13), and that JLRNA should not have
25    allowed it to be sold to plaintiff as a Jaguar CPO vehicle (See First Amended
26    Complaint, ¶49(3)). In Kramer, no dealerships were named as codefendants. It
27    was not a case where a dealership or dealerships were seeking arbitration. On the
28    contrary, Toyota was seeking to arbitrate on its own.          There were no facts


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 1    connecting the allegations against the dealerships with the allegations against
 2    Toyota.
 3            Second, unlike Kramer, where the Court noted that all warranties were
 4    disclaimed by the dealers, JLR Newport Beach provided an implied warranty with
 5    the vehicle. In paragraph 4 contained on the backside of the RISC, JLR Newport
 6    Beach expressly stated: “If the Seller has sold you a certified used vehicle, the
 7    warranty of merchantability is not disclaimed.” Both JLRNA and JLR Newport
 8    Beach are being sued for breach of implied warranty. “Among other things,”
 9    plaintiff alleged the vehicle did not “pass… without objection in the trade under
10    the contract description” (See First Amended Complaint, ¶18). The vehicle being
11    labeled “certified” anoints it with certain expectations in the trade. JLRNA and
12    JLR Newport Beach allowing the vehicle to be sold as “certified” exposes both to
13    potential liability for breach of implied warranty. Because of the implied warranty
14    cause of action, common to both JLRNA and Land Rover Newport Beach,
15    plaintiff has alleged interdependent misconduct founded in and intimately
16    connected with the obligations of the underlying agreement.
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 1            E.    CONCLUSION
 2            For the reasons stated above, Defendants respectfully requests that this
 3    Court grant this motion to compel arbitration as to the entire action and both
 4    defendants.
 5
 6    DATED: November 20, 2017                    BOWMAN AND BROOKE LLP

 7
 8
                                            BY: /s/ Autumn E. Lewis
 9                                              Brian Takahashi
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14                                              NEWPORT BEACH
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 1                               CERTIFICATE OF SERVICE
 2             I hereby certify that on November 20, 2017, I filed the foregoing document
 3     entitled PENEGON NEWPORT BEACH, INC. DBA JAGUAR LAND
 4     ROVER NEWPORT BEACH’S REPLY IN SUPPORT OF ITS MOTION TO
 5     COMPEL ARBITRATION with the clerk of court using the CM/ECF system,
 6     which will send a notice of electronic filing to all counsel of record in this action.
 7
 8                                                          /s/ Autumn E. Lewis
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